

People v Harnett (2022 NY Slip Op 07200)





People v Harnett


2022 NY Slip Op 07200


Decided on December 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 20, 2022

Before: Kern, J.P., Friedman, Gesmer, González, Mendez, JJ. 


Ind. No. 4335/99 Appeal No. 16917 Case No. 2019-1530 

[*1]The People of the State of New York, Respondent,
vTimothy Harnett, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Paul A. Andersen of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about September 21, 2018, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
Defendant challenges three point assessments, any one of which, when added to his undisputed points, would qualify him as a level three offender. Our review of the record demonstrates that the People presented clear and convincing evidence as to each of these three risk factors (see People v Pettigrew, 14 NY3d 406, 407 [2010]). Each assessment was supported by documents deemed reliable in sex offender proceedings, such as "case summaries and presentence reports" (People v Mingo, 12 NY3d 563, 573 [2009]). We have considered and rejected defendant's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 20, 2022








